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MlDDLE DlSTR|CT OF FLORiDA
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SALVADOR JIMENEZ-GARCIA et al.,

 

Plaintiffs,
-vs- Case No. 2:01-cv-539-FtM-3ISPC

SORRELLS BROTHERS PACKING
COMPANY, INC.,

Defendant.

 

JUDGMENT IN A CIVIL CASE

Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and
a decision has been rendered.

IT IS ORDERED AND ADJUDGED that judgment is entered for the Plaintif’fs,
RUBEN GOMEZ-0RTIZ, SALVADGR JIMENEZ-GARCIA, GERARDU GUNZALEZ-
JIMENEZ, ALEJANDO JUAN-PEREZ, JUAN ANTUNIO-MALDONADO, and GILBERTO
MORENO-MENDO, and against the Defendant, SORKELLS BROTHERS PACKING
COMPANY, INC., in the following amounts:

Ruben Gomez-Ortiz $5,697.43
Gerardo Gonzalez-Jimenez $5,758.51
Alejandro Juan-Perez $6,120.96
Rafael Juan-Perez $4,618.44
Juan Antonio Maldonado $3,669.48

Gilberto Moreno-Mendo $5,699.20

Date: February 5, 2004 S YL L. OE CH, CLERK
By:

M. Ple}co\nes, Deputy Clerk

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F I L E C O P Y

Date Printed: 02/05/2004

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2:01-cv-00539 maa

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